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EXHIBIT B
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After Recording Return To:
CHIO SAVINGS BANK

 

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CLEVELAND OH 44114

 

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MERS #10016250006 7268624
TELEPHONE #1-888-679-6377 MORTGAGE

DEFINITIONS

Words used in multiple sections of this document are defined below and other words are defined
in Sections 3, 11, 13, 18, 20 and 21. Certain rules regarding the usage of words used in this
document are also provided in Section 16.

(A) “Security Instrument” means this document, which is dated MARCH 27 2006

, together with all Riders to this document.

mortgagor under this Security Instrument.

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Borrower is the

 

 

(C) “Lender” is __ PROVIDENCE POSTAL FEDERAL CREDIT UNION Lender
isa ___ CORPORATION organized and existing under the laws of
Save ISLAND . Lender’s address is 24 CORLISS STREET

 

. Lender is the mortgagee under this Security Instrument.
(D) “Note” means the promissory note signed by Borrower and dated MARCH 27 2006 .
dot ED FIFTY FOUR
. The Note states that Borrower owes Lender “ONE HUNDRED FUP TY FOUR

THOUSAND AND 00/100%"""" Dollars (U.S. §_154, 000.00 ) plus interest.

Borrower has promised to pay this debt in regular Periodic Payments and to pay the debt in full
not later than _ APRIL 1, 2036

(£) “Property” means the property that is described below under the heading “Transfer of
Rights in the Property.”

(F) “Lean” means the debt evidenced by the Note. plus interest, any prepayment charges and
late charges due under the Note, and all sums due under this Security Instrument. plus interest.
(G) “Riders” means all Riders to this Security Instrument that are executed by Borrower. The
following Riders are to be executed by Borrower |check box as applicable]:

 

{] Adjustable Rate Rider © Condommnium Rider {Second Home Rider
C] Baloon Rider (1 Planned Unit Development Rider (1 Other(s) specify]
{}] 1-4 Family Rider © Biweekly Payment Rider
RHODE ISLAND--Smgle Faruly--Fannie bise/Freddic tac UNIFORM INSTRUMENT Form 3040 0 1Di deev.2182) page | of 14 pages}
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(H) “Applicable Law” means all controlling applicable federal, state and local statutes,
regulations, ordinances and administrative rules and orders (that have the effect of law) as well
as all applicable final, non-appealable judicial opinions.

() “Community Association Dues, Fees, and Assessments” means all dues, fees, assessments
and other charges that are imposed on Borrower or the Property by a condominium association,
homeowners association or similar organization.

(J) “Electronic Funds Transfer” means any transfer of funds, other than a transaction
originated by check, draft, or similar paper instrument, which is initiated through an electronic
terminal, telephonic instrument, computer, or magnetic tape so as to order, instruct, or authorize
a financial institution to debit or credit an account. Such term includes, but is not limited to,
point-of-sale transfers, automated teller machine transactions, transfers initiated by telephone,
wire transfers, and automated clearinghouse transfers.

(K)} “Escrew Items” means those items that are described in Section 3.

(L) “Miscellaneous Proceeds” means any compensation, settlement, award of damages, or
proceeds paid by any third party (other than insurance proceeds paid under the coverages
described in Section 5) for: (i) damage to, or destruction of, the Property; (ii) condemnation; or
other taking of all or any part of the Property; (iii) conveyance in lieu of condemnation or
(iv) misrepresentations of, or omissions as to, the value and/or condition of the Property.

(M) “Mortgage Insurance” means insurance protecting Lender against the nonpayment of, or
default on, the Loan.

(N) “Periodic Payment” means the regularly scheduled amount due for (i) principal and
interest under the Note, plus (ii) any amounts under Section 3 of this Security Instrument.

(O) “RESPA” means the Real Estate Settlement Procedures Act (12 U.S.C. §2601 et seq.) and
its implementing regulation, Regulation X (24 C.F.R. Part 3500), as they might be amended from
time to time, or any additional or successor legislation or regulation that governs the same
subject matter. As used in this Security Instrument, “RESPA” refers to all requirements and
restrictions that are imposed in regard to a “federally related mortgage loan” even if the Loan
does not qualify as a “federally related mortgage loan” under RESPA.

(P) “Successor in Interest of Borrower” means any party that has taken title to the Property,

whether or not that party has assumed Borrower's obligations under the Note and/or this Security
Instrument.

TRANSFER OF RIGHTS IN THE PROPERTY

This Security Instrument secures to Lender: (i) the repayment of the Loan, and all renewals,
extensions and modifications of the Note; and (ii) the performance of Borrower's covenants
and agreements under this Security Instrument and the Note. For this purpose, Borrower
does hereby mortgage, grant and convey to Lender, with Mortgage Covenants upon the
Statutory Condition and with the Statutory Power of Sale, the following described property
located in the TOWN of OVENTRY :

{Type of Recording Jurisdiction] (Name of Recording Jurisdiction

SEE EXHIBIT “A ATTACHED HERETO AND MADE A PART HEREOF

RHODE ISLAND--Single Family--Fannle Mae/Freddie Mac UNIFORM INSTRUMENT Form 3040 9-101 (rev, 1102) page 2 of 16 pages}
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which currently has the address of 7 DION AVENUE

16 [Street]
COVENTRY , Rhode Island 028 (“Property Address”):

[City] [Zip Code]

 

TOGETHER WITH all the improvements now or hereafter erected on the property,
and all easements, appurtenances, and fixtures now or hereafter a part of the property. All
replacements and additions shall also be covered by this Security Instrument. All of the
foregoing is referred to in this Security Instrument as the “Property.”

BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby
conveyed and has the right to mortgage, grant and convey the Property and that the Property
is unencumbered, except for encumbrances of record. Borrower warrants and will defend

generally the title to the Property against all claims and demands, subject to any
encumbrances of record.

THIS SECURITY INSTRUMENT combines uniform covenants for national use and
non-uniform covenants with limited variations by jurisdiction to constitute a uniform security
instrument covering real property.

UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:

1. Payment of Principal, Interest, Escrow Items, Prepayment Charges, and Late
Charges. Borrower shall pay when due the principal of, and interest on, the debt evidenced
by the Note and any prepayment charges and late charges due under the Note. Borrower
shall also pay funds for Escrow Items pursuant to Section 3. Payments due under the Note
and this Security Instrument shall be made in U.S. currency. However, if any check or other
instrument received by Lender as payment under the Note or this Security Instrument is
retumed to Lender unpaid, Lender may require that any or all subsequent payments due under
the Note and this Security Instrument be made in one or more of the following forms, as
selected by Lender: (a) cash; (b) money order; (c} certified check, bank check, treasurer’s
check or cashier’s check, provided any such check is drawn upon an institution whose
deposits are insured by a federal agency, instrumentality, or entity; or (d) Electronic Funds
Transfer.

Payments are deemed received by Lender when received at the location designated in
the Note or at such other location as may be designated by Lender in accordance with the
notice provisions in Section 15. Lender may return any payment or partial payment if the
payment or partial payments are insufficient to bring the Loan current. Lender may accept
any payment or partial payment insufficient to bring the Loan current, without waiver of any
rights hereunder or prejudice to its rights to refuse such payment or partial payments in the
future, but Lender is not obligated to apply such payments at the time such payments are
accepted. If each Periodic Payment is applied as of its scheduled due date, then Lender need
not pay interest on unapplied funds. Lender may hold such unapplied funds until Borrower
makes payment to bring the Loan current. If Borrower does not do so within a reasonable
period of time, Lender shall either apply such funds or return them to Borrower. If not
applied earlier, such funds will be applied to the outstanding principal balance under the Note
immediately prior to foreclosure. No offset or claim which Borrower might have now or in

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the future against Lender shall relieve Borrower from making payments due under the Note
and this Security Instrument or performing the covenants and agreements secured by this
Security Instrument.

2, Application of Payments or Proceeds. Except as otherwise described in this
Section 2, ali payments accepted and applied by Lender shall be applied in the following
order of priority: (a) interest due under the Note; (b) principal due under the Note:
(c) amounts due under Section 3. Such payments shall be applied to each Periodic Payment
in the order in which it became due. Any remaining amounts shall be applied first io late
charges, second to any other amounts due under this Security Instrument, and then to reduce
the principal balance of the Note.

if Lender receives a payment from Borrower for a delinquent Periodic Payment which
includes a sufficient amount to pay any late charge due, the payment may be applied to the
delinquent payment and the late charge. If more than one Periodic Payment is outstanding,
Lender may apply any payment received from Borrower to the repayment of the Periodic
Payments if, and to the extent that, each payment can be paid in full. To the extent that any
excess exists after the payment is applied to the full payment of one or more Periodic
Payments, such excess may be applied to any late charges due. Voluntary prepayments shall
be applied first to any prepayment charges and then as described in the Note.

Any application of payments, insurance proceeds, or Miscellaneous Proceeds to
principal due under the Note shall not extend or postpone the due date, or change the amount,
of the Periodic Payments.

3. Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic
Payments are due under the Note, until the Note is paid in full, a sum (the “Funds”) to
provide for payment of amounts due for: (a) taxes and assessments and other items which can
attain priority over this Security Instrument as a lien or encumbrance on the Property; (b)
leasehold payments or ground rents on the Property, if any; (c) premiums for any and all
insurance required by Lender under Section 5; and (d) Mortgage Insurance premiums, if any,
or any sums payable by Borrower to Lender in lieu of the payment of Mortgage Insurance
premiums in accordance with the provisions of Section 10. These items are called “Escrow
Items.” At origination or at any time during the term of the Loan, Lender may require that
Community Association Dues, Fees, and Assessments, if any, be escrowed by Borrower, and
such dues, fees and assessments shall be an Escrow Item. Borrower shall promptly furnish to
Lender all notices of amounts to be paid under this Section. Borrower shall pay Lender the
Funds for Escrow Items unless Lender waives Borrower's obligation to pay the Funds for any
or all Escrow lems. Lender may waive Borrower’s obligation to pay to Lender Funds for
any or all Escrow Items at any time. Any such waiver may only be in writing. In the event
of such waiver, Borrower shall pay directly, when and where payable, the amounts due for
any Escrow Items for which payment of Funds has been waived by Lender and, if Lender
requires, shall furnish to Lender receipts evidencing such payment within such time period as
Lender may require. Borrower's obligation to make such payments and to provide receipts
shall for all purposes be deemed to be 2 covenant and agreement contained in this Security
Instrument, as the phrase “covenant and agreement” is used in Section 9, If Borrower is
obligated to pay Escrow Items directly, pursuant io a waiver, and Borrower fails to pay the
amount due for an Escrow Item, Lender may exercise its rights under Section 9 and pay such
amount and Borrower shail then be obligated under Section 9 to repay to Lender any such
amount. Lender may revoke the waiver as to any or all Escrow Items at any time by a notice

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given in accordance with Section 15 and, upon such revocation, Borrower shall pay to Lender
all Funds, and in such amounts, that are then required under this Section 3.

Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit
Lender to apply the Funds at the time specified under RESPA, and (b) not to exceed the
maximum amount a lender can require under RESPA. Lender shall estimate the amount of
Funds due on the basis of current data and reasonable estimates of expenditures of future
Escrow ltems or otherwise in accordance with Applicable Law.

The Funds shall be held in an institution whose deposits are insured by a federal
agency, instrumentality, or entity (including Lender, if Lender is an institution whose
deposits are so insured) or in any Federal Home Loan Bank. Lender shall apply the Funds to
pay the Escrow Items no later than the time specified under RESPA. Lender shall not charge
Borrower for holding and applying the Funds, annually analyzing the escrow account, or
verifying the Escrow Items, unless Lender pays Borrower interest on the Funds and
Applicable Law permits Lender to make such a charge. Unless an agreement is made in
writing or Applicable Law requires interest to be paid on the Funds, Lender shall not be
required to pay Borrower any interest or earnings on the Funds. Borrower and Lender can
agree in writing, however, that interest shall be paid on the Funds. Lender shall give to
Borrower, without charge, an annual accounting of the Funds as required by RESPA.

if there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall
account to Borrower for the excess funds in accordance with RESPA. If there is a shortage
of Funds held in escrow, as defined under RESPA, Lender shall notify Borrower as
required by RESPA, and Borrower shall pay to Lender the amount necessary to make up
the shortage in accordance with RESPA, but in no more than 12 monthly payments. If
there is a deficiency of Funds held in escrow, as defined under RESPA, Lender shall notify
Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary
to make up the deficiency in accordance with RESPA, but in no more than 12 monthly
payments.

Upon payment in full of all sums secured by this Security Instrument, Lender shall
promptly refund to Borrower any Funds held by Lender.

4. Charges; Liens. Borrower shall pay all taxes, assessments, charges, fines, and
impositions attributable to the Property which can attain priority over this Security
Instrument, leasehold payments or ground rents on the Property, if any, and Community
Association Dues, Fees, and Assessments, if any. To the extent that these items are Escrow
ltems, Borrower shall pay them in the manner provided in Section 3.

Borrower shall promptly discharge any lien which has priority over this Security
instrument unless Borrower: (a) agrees in writing to the payment of the obligation secured
by the lien in a manner acceptable to Lender, but only so long as Borrower is performing
such agreement; (b) contests the lien in good faith by, or defends against enforcement of
the lien in, legal proceedings which in Lender’s opinion operate to prevent the enforcement
of the lien while those proceedings are pending, but only until such proceedings are
concluded; or (c) secures from the holder of the lien an agreement satisfactory to Lender
subordinating the lien to this Security Instrument. If Lender determines that any part of the
Property is subject to a lien which can attain priority over this Security Instrument, Lender
may give Borrower a notice identifying the lien. Within 10 days of the date on which that

notice is given, Borrower shall satisfy the lien or take one or more of the actions set forth
above in this Section 4.

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Lender may require Borrower to pay a one-time charge for a real estate tax
verification and/or reporting service used by Lender in connection with this Loan.

5S. Property Insurance. Borrower shall keep the improvements now existing or
hereafter erected on the Property insured against loss by fire, hazards included within the
term ‘extended coverage,” and any other hazards including, but not limited to, earthquakes
and floods, for which Lender requires insurance. This insurance shall be maintained in the
amounts (including deductible levels) and for the periods that Lender requires. What Lender
requires pursuant to the preceding sentences can change during the term of the Loan. The
insurance carrier providing the insurance shall be chosen by Borrower subject to Lender’s
right to disapprove Borrower’s choice, which right shall not be exercised unreasonably.
Lender may require Borrower to pay, in connection with this Loan, either: (a) a one-time
charge for flood zone determination, certification and tracking services; or (b) a one-time
charge for flood zone determination and certification services and subsequent charges each
time remappings or similar changes occur which reasonably might affect such determination
or certification. Borrower shall also be responsible for the payment of any fees imposed by
the Federal Emergency Management Agency in connection with the review of any flood zone
determination resulting from an objection by Borrower.

If Borrower fails to maintain any of the coverages described above, Lender may
abtain insurance coverage, at Lender’s option and Borrower’s expense. Lender is under no
obligation to purchase any particular type or amount of coverage. Therefore, such coverage
shall cover Lender, but might or might not protect Borrower, Borrower's equity in the
Property, or the contents of the Property, against any risk, hazard or liability and might
provide greater or lesser coverage than was previously in effect. Borrower acknowledges
that the cost of the insurance coverage so obtained might significantly exceed the cost of
insurance that Borrower could have obtained. Any amounts disbursed by Lender under this
Section 5 shall become additional debt of Borrower secured by this Security Instrument.
These amounts shall bear interest at the Note rate from the date of disbursement and shall be
payable, with such interest, upon notice from Lender to Borrower requesting payment.

All insurance policies required by Lender and renewals of such policies shall be
subject to Lender’s right to disapprove such policies, shall include a standard mortgage
clause, and shall name Lender as mortgagee and/or as an additional loss payee. Lender shall
have the right to hold the policies and renewal certificates. If Lender requires, Borrower
shall promptly give to Lender all receipts of paid premiums and renewal notices. If Borrower
obtains any form of insurance coverage, not otherwise required by Lender, for damage to, or
destruction of, the Property. such policy shall include a standard mortgage clause and shall
name Lender as mortgagee and/or as an additional loss payee.

In the event of loss, Borrower shall give prompt notice to the insurance carrier and
Lender. Lender may make proof of loss if not made promptly by Borrower. Unless Lender
and Borrower otherwise agree in writing, any insurance proceeds, whether or not the
underlying insurance was required by Lender, shall be applied to restoration or repair of the
Property, if the restoration or repair is economically feasible and Lender's security is not
lessened, During such repair and restoration period, Lender shall have the right to hold such
insurance proceeds until Lender has had an opportunity to inspect such Property to ensure the
work has been completed to Lender’s satisfaction, provided that such inspection shall be
undertaken promptly. Lender may disburse proceeds for the repairs and restoration in a
single payment or in a series of progress payments as the work is completed. Unless an

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agreement is made in writing or Applicable Law requires interest to be paid on such
insurance proceeds, Lender shall not be required to pay Borrower any interest or earnings on
such proceeds. Fees for public adjusters, or other third parties, retained by Borrower shall
not be paid out of the insurance proceeds and shall be the sole obligation of Borrower. If the
restoration or repair is not economically feasible or Lender’s security would be lessened, the
insurance proceeds shall be applied to the sums secured by this Security Instrument, whether
or not then due, with the excess, if any, paid to Borrower. Such insurance proceeds shall be
applied in the order provided for in Section 2.

If Borrower abandons the Property, Lender may file, negotiate and settle any available
insurance claim and related matters. If Borrower does not respond within 30 days to a notice
from Lender that the insurance carrier has offered to settle a claim, then Lender may
negotiate and settle the claim. The 30-day period will begin when the notice is given. In
either event, or if Lender acquires the Property under Section 22 or otherwise, Borrower
hereby assigns to Lender (a) Borrower's rights to any insurance proceeds in an amount not to
exceed the amounts unpaid under the Note or this Security Instrument, and (b) any other of
Borrower’s rights (other than the right to any refund of unearned premiums paid by
Borrower) under all insurance policies covering the Property, insofar as such rights are
applicable to the coverage of the Property. Lender may use the insurance proceeds either to
repair or restore the Property or to pay amounts unpaid under the Note or this Security
Instrument, whether or not then due.

6. Occupancy. Borrower shall occupy, establish, and use the Property as Borrower’s
principal residence within 60 days after the execution of this Security Instrument and shall
continue to occupy the Property as Borrower's principal residence for at least one year after
the date of occupancy, unless Lender otherwise agrees in writing, which consent shall not be
unreasonably withheld, or unless extenuating circumstances exist which are beyond
Borrower’s control.

7. Preservation, Maintenance and Protection of the Property; Inspections.
Borrower shall not destroy, damage or impair the Property, allow the Property to deteriorate
or commit waste on the Property. Whether or not Borrower is residing in the Property,
Borrower shall maintain the Property in order to prevent the Property from deteriorating or
decreasing in value due to its condition. Unless it is determined pursuant to Section 5 that
repair or restoration is not economically feasible, Borrower shall promptly repair the
Property if damaged to avoid further deterioration or damage. If insurance or condemnation
proceeds are paid in connection with damage to, or the taking of, the Property, Borrower
shall be responsible for repairing or restoring the Property only if Lender has released
proceeds for such purposes. Lender may disburse proceeds for the repairs and restoration in
a single payment or in a series of progress payments as the work is completed. If the
insurance or condemnation proceeds are not sufficient to repair or restore the Property,

Borrower is not relieved of Borrower's obligation for the completion of such repair or
restoration.

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Lender or its agent may make reasonable entries upon and inspections of the Property.
If it has reasonable cause, Lender may inspect the interior of the improvements on the
Property. Lender shall give Borrower notice at the time of or prior to such an interior
inspection specifying such reasonable cause.

8. Borrower’s Loan Application. Borrower shall be in default iff during the Loan
application process, Borrower or any persons or entities acting at the direction of Borrower
or with Borrower's knowledge or consent gave materially false, misleading, or inaccurate
information or statements to Lender (or failed to provide Lender with material information)
in connection with the Loan. Material representations include, but are not limited to,
representations concerning Borrower's occupancy of the Property as Borrower's principal
residence,

§, Protection of Lender’s Interest in the Property and Rights Under this
Security Instrument, If (a) Borrower fails to perform the covenants and agreements
contained in this Security Instrument, (b) there is a legal proceeding that might significantly
affect Lender’s interest in the Property and/or rights under this Security Instrument (such as a
proceeding in bankruptcy, probate, for condemnation or forfeiture, for enforcement of a lien
which may attain priority over this Security Instrument or to enforce laws or regulations), or
(c) Borrower has abandoned the Property, then Lender may do and pay for whatever is
reasonable or appropriate to protect Lender’s interest in the Property and rights under this
Security Instrument, including protecting and/or assessing the value of the Property, and
securing and/or repairing the Property. Lender’s actions can include, but are not limited to:
(a) paying any sums secured by a lien which has priority over this Security Instrument;
(b) appearing in court; and (c) paying reasonable attorneys’ fees to protect its interest in the
Property and/or rights under this Security Instrument, including its secured position in a
bankruptcy proceeding. Securing the Property includes, but is not limited to, entering the
Property to make repairs, change locks, replace or board up doors and windows, drain water
from pipes, eliminate building or other code violations or dangerqus conditions, and have
utilities turned on or off. Although Lender may take action under this Section 9, Lender does
not have to do so and is not under any duty or obligation to do so. It is agreed that Lender
incurs no liability for not taking any or all actions authorized under this Section 9.

Any amounts disbursed by Lender under this Section 9 shall become additional debt
of Borrower secured by this Security Instrument. These amounts shall bear interest at the
Note rate from the date of disbursement and shall be payable, with such interest, upon notice
from Lender to Borrower requesting payment.

If this Security Instrument is on a leasehold, Borrower shall comply with all the
provisions of the lease. If Borrower acquires fee title to the Property, the leasehold and the
fee title shall not merge unless Lender agrees to the merger in writing.

10. Mortgage Insurance. If Lender required Mortgage Insurance as a condition of
making the Loan, Borrower shall pay the premiums required to maintain the Mortgage
Insurance in effect. If, for any reason, the Mortgage Insurance coverage required by Lender
ceases to be available from the mortgage insurer that previously provided such insurance and
Borrower was required to make scparatcly designated payments toward the premiums for
Mortgage Insurance, Borrower shall pay the premiums required to obtain coverage
substantially equivalent to the Mortgage Insurance previously in effect, at a cost substantially
equivalent to the cost to Borrower of the Mortgage Insurance previously in effect, from an
alternate mortgage insurer selected by Lender. If substantially equivalent Mortgage Insurance

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coverage is not available, Borrower shall continue to pay to Lender the amount of the
separately designated payments that were due when the insurance coverage ceased to be in
effect. Lender will accept, use and retain these payments as a non-refundable loss reserve in
lieu of Mortgage Insurance. Such loss reserve shall be non-refundable, notwithstanding the
fact that the Loan is ultimately paid in full, and Lender shall not be required to pay Borrower
any interest or earnings on such loss reserve. Lender can no longer require loss reserve
payments if Mortgage Insurance coverage (in the amount and for the period that Lender
requires) provided by an insurer selected by Lender again becomes available, is obtained, and
Lender requires separately designated payments toward the premiums for Mortgage Insurance.
if Lender required Mortgage Insurance as a condition of making the Loan and Borrower was
required to make separately designated payments toward the premiums for Mortgage
Insurance, Borrower shall pay the premiums required to maintain Mortgage Insurance in
effect, or to provide a non-refundable loss reserve, until Lender’s requirement for Mortgage
Insurance ends in accordance with any written agreement between Borrower and Lender
providing for such termination or until termination is required by Applicable Law. Nothing in
this Section 10 affects Borrower’s obligation to pay interest at the rate provided in the Note.

Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for
certain losses it may incur if Borrower does not repay the Loan as agreed. Borrower is not a
party to the Mortgage Insurance.

Mortgage insurers evaluate their total risk on all such insurance in force from time to
time, and may enter into agreements with other parties that share or modify their risk, or
reduce losses. These agreements are on terms and conditions that are satisfactory to the
mortgage insurer and the other party (or parties) to these agreements. These agreements may
require the mortgage insurer to make payments using any source of funds that the mortgage
insurer may have available G@vhich may include funds obtained from Mortgage Insurance
premiums).

As a result of these agreements, Lender, any purchaser of the Note, another insurer,
any reinsurer, any other entity, or any affiliate of any of the foregoing, may receive (directly or
indirectly) amounts that derive from (or might be characterized as) a portion of Borrower’s
payments for Mortgage Insurance, in exchange for sharing or modifying the mortgage
insurer’s risk, or reducing losses. If such agreement provides that an affiliate of Lender takes
a share of the insurer’s risk in exchange for a share of the premiums paid to the insurer, the
arrangement is often termed “captive reinsurance.” Further:

(a) Any such agreements will not affect the amounts that Borrower has agreed
to pay for Mortgage Insurance, or any other terms of the Loan. Such agreements will
not increase the amount Borrower will owe for Mortgage Insurance, and they will not
entitle Borrower to any refund.

(b) Any such agreements will not affect the rights Borrower has - if any - with
respect to the Mortgage Insurance under the Homeowners Protection Act of 1998 or any
other law. These rights may include the right to receive certain disclosures, to request
and obtain cancellation of the Mortgage Insurance, to have the Mortgage Insurance
terminated automatically, and/or to receive a refund ef any Mortgage Insurance
premiums that were unearned at the time of such cancellation or termination.

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il. Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous
Proceeds are hereby assigned to and shall be paid to Lender.

If the Property is damaged, such Miscellaneous Proceeds shall be applied to
restoration or repair of the Property, if the restoration or repair is economically feasible and
Lender’s security is not lessened. During such repair and restoration period, Lender shall
have the right to hold such Miscellaneous Proceeds until Lender has had an opportunity to
inspect such Property to ensure the work has been completed to Lender’s satisfaction,
provided that such inspection shall be undertaken promptly. Lender may pay for the repairs
and restoration in a single disbursement or in a series of progress payments as the work is
completed. Uniess an agreement is made in writing or Applicable Law requires interest to be
paid on such Miscellaneous Proceeds, Lender shall not be required to pay Borrower any
interest or earnings on such Miscellaneous Proceeds. If the restoration or repair is not
economically feasible or Lender's security would be lessened, the Miscellaneous Proceeds
shali be applied to the sums secured by this Security Instrument, whether or not then due,
with the excess, if any, paid to Borrower. Such Miscellaneous Proceeds shall be applied in
the order provided for in Section 2.

In the event of a total taking, destruction, or loss in value of the Property, the
Miscellaneous Proceeds shall be applied to the sums secured by this Security Instrument.
whether or not then due, with the excess, if any, paid to Borrower.

In the event of a partial taking, destruction, or loss in value of the Property in which
the fair market value of the Property immediately before the partial taking, destruction, or
loss in value is equal to or greater than the amount of the sums secured by this Security
Instrument immediately before the partial taking, destruction, or loss in value, unless
Borrower and Lender otherwise agree in writing, the sums secured by this Security
Instrument shall be reduced by the amount of the Miscellaneous Proceeds multiplied by the
following fraction: (a) the total amount of the sums secured immediately before the partial
taking, destruction, or loss in value divided by (b) the fair market value of the Property
immediately before the partial taking, destruction, or loss in value. Any balance shall be paid
to Borrower.

{n the event of a partial taking, destruction, or loss in value of the Property in which
the fair market value of the Property immediately before the partial taking, destruction, or
loss in value is less than the amount of the sums secured immediately before the partial
taking, destruction, or loss in value, unless Borrower and Lender otherwise agree in writing,
the Miscellaneous Proceeds shall be applied to the sums secured by this Security Instrument
whether or not the sums are then due.

If the Property is abandoned by Borrower, or if, after notice by Lender to Borrower
that the Opposing Party (as defined in the next sentence) offers to make an award to settle a
claim for damages, Borrower fails to respond to Lender within 30 days after the date the
notice is given, Lender is authorized to collect and apply the Miscellaneous Proceeds either
to restoration or repair of the Property or to the sums secured by this Security Instrument,
whether or not then due. “Opposing Party” means the third party that owes Borrower

Miscellancous Proceeds or the party against whom Borrower has a right of action in regard to
Miscellaneous Proceeds.

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Borrower shall be in default if any action or proceeding, whether civil or criminal, is
begun that, in Lender’s judgment, could result in forfeiture of the Property or other material
impairment of Lender’s interest in the Property or rights under this Security Instrument.
Borrower can cure such a default and, if acceleration has occurred, reinstate as provided in
Section 19, by causing the action or proceeding to be dismissed with a ruling that, in
Lender’s judgment, precludes forfeiture of the Property or other material impairment of
Lender’s interest in the Property or rights under this Security Instrument. The proceeds of
any award or claim for damages that are attributable to the impairment of Lender's interest in
the Property are hereby assigned and shall be paid to Lender.

All Miscellaneous Proceeds that are not applied to restoration or repair of the Property
shall be applied in the order provided for in Section 2.

12. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of
the time for payment or modification of amortization of the sums secured by this Security
Instrument granted by Lender to Borrower or any Successor in Interest of Borrower shall not
operate to release the liability of Borrower or any Successors in Interest of Borrower. Lender
shall not be required to commence proceedings against any Successor in Interest of Borrower
or to refuse to extend time for payment or otherwise modify amortization of the sums secured
by this Security Instrument by reason of any demand made by the original Borrower or any
Successors in Interest of Borrower. Any forbearance by Lender in exercising any right or
remedy including, without limitation, Lender's acceptance of payments from third persons,
entities or Successors in Interest of Borrower or in amounts less than the amount then due,
shall not be a waiver of or preclude the exercise of any right or remedy.

13. Joint and Several Liability, Ce-signers; Successors and Assigns Bound.
Borrower covenants and agrees that Borrower’s obligations and liability shall be joint and
several. However, any Borrower who co-signs this Security Instrument but does not execute
the Note (a “co-signer”): (a) is co-signing this Security Instrument only to mortgage, grant and
convey the co-signer’s interest in the Property under the terms of this Security Instrument; (b)
is not personally obligated to pay the sums secured by this Security instrument; and (c) agrees
that Lender and any other Borrower can agree to extend, modify, forbear or make any
accommodations with regard to the terms of this Security Instrument or the Note without the
coO-signer’s consent.

Subject to the provisions of Section 18, any Successor in Interest of Borrower who
assumes Borrower's obligations under this Security Instrument in writing, and is approved by
Lender, shall obtain all of Borrower’s rights and benefits under this Security Instrument.
Borrower shall not be released from Borrower’s obligations and liability under this Security
Instrument unless Lender agrees to such release in writing. The covenants and agreements of -
this Security Instrument shall bind (except as provided in Section 20) and benefit the
successors and assigns of Lender.

i4. Loan Charges. Lender may charge Borrower fees for services performed in
connection with Borrower's default, for the purpose of protecting Lender’s interest in the
Property and rights under this Security instrument, including, but not limited to, attorneys’
fees, property inspection and valuation fees. In regard to any other fees, the absence of
express authority in this Security Instrument to charge a specific fee to Borrower shall not be
construed as a prohibition on the charging of such fee. Lender may not charge fees that are
expressly prohibited by this Security Instrument or by Applicable Law.

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If the Loan is subject to a law which sets maximum loan charges, and that law is
finally interpreted so that the interest or other loan charges collected or to be collected in
connection with the Loan exceed the permitted limits, then: (a) any such loan charge shall be
reduced by the amount necessary to reduce the charge to the permitted limit; and (b) any
sums already collected from Borrower which exceeded permitted limits will be refunded to
Borrower. Lender may choose to make this refund by reducing the principal owed under the
Note or by making a direct payment to Borrower. If a refund reduces principal, the reduction
will be treated as a partial prepayment without any prepayment charge (whether or not a
prepayment charge is provided for under the Note). Borrower’s acceptance of any such
refund made by direct payment to Borrower will constitute a waiver of any right of action
Borrower might have arising out of such overcharge.

iS. Notices. Ali notices given by Borrower or Lender in connection with this
Security Instrument must be in writing. Any notice to Borrower in connection with this
Security Instrument shall be deemed to have been given to Borrower when mailed by first
class mail or when actually delivered to Borrower’s notice address if sent by other means.
Notice to any one Borrower shail constitute notice to all Borrowers unless Applicable Law
expressly requires otherwise. The notice address shall be the Property Address unless
Borrower has designated a substitute notice address by notice to Lender. Borrower shall
promptly notify Lender of Borrower’s change of address. If Lender specifies a procedure for
reporting Borrower's change of address, then Borrower shall only report a change of address
through that specified procedure. There may be only one designated notice address under
this Security Instrument at any one time. Any notice to Lender shall be given by delivering it
or by mailing it by first class mail to Lender’s address stated herein unless Lender has
designated another address by notice to Borrower. Any notice in connection with this
Security Instrument shall not be deemed to have been given to Lender until actually received
by Lender. If any notice required by this Security Instrument is also required under
Applicable Law, the Applicable Law requirement will satisfy the corresponding requirement
under this Security Instrument.

16. Governing Law; Severability; Rules of Construction. This Security Instrument
shall be governed by federal law and the law of the jurisdiction in which the Property is
located. All rights and obligations contained in this Security Instrument are subject to any
requirements and limitations of Applicable Law. Applicable Law might explicitly or
implicitly allow the parties to agree by contract or it might be silent, but such silence shall
not be construed as a prohibition against agreement by contract. In the event that any
provision or clause of this Security Instrument or the Note conflicts with Applicable Law,
such conflict shall not affect other provisions of this Security Instrument or the Note which
can be given effect without the conflicting provision.

As used in this Security Instrument: (a) words of the masculine gender shall mean and
include corresponding neuter words or words of the feminine gender; (b) words in the
singular shall mean and include the plural and vice versa; and (c) the word “may” gives sole
discretion without any obligation to take any action. .

17. Borrewer’s Copy. Borrower shall be given one copy of the Note and of this
Security Instrument.

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18. Transfer of the Property or a Beneficial Interest in Borrower. As used in this
Section 18, “Interest in the Property” means any legal or beneficial interest in the Property,
including, but not limited to, those beneficial interests transferred in a bond for deed, contract
for deed, installment sales contract or escrow agreement, the intent of which is the transfer of
title by Borrower at a future date to a purchaser.

if all or any part of the Property or any Interest in the Property is sold or transferred
(or if Borrower is not a natural person and a beneficial interest in Borrower is sold or
transferred) without Lender’s prior written consent, Lender may require immediate payment
in full of all sums secured by this Security Instrument. However, this option shall not be
exercised by Lender if such exercise is prohibited by Applicable Law.

If Lender exercises this option, Lender shall give Borrower notice of acceleration.
The notice shall provide a period of not less than 30 days from the date the notice is given in
accordance with Section 15 within which Borrower must pay all sums secured by this
Security Instrument. If Borrower fails to pay these sums prior to the expiration of this
period, Lender may invoke any remedies permitted by this Security Instrument without
further notice or demand on Borrower.

19. Borrower’s Right to Reinstate After Acceleration. If Borrower meets certain
conditions, Borrower shall have the right to have enforcement of this Security Instrument
discontinued at any time prior to the earliest of: (a) five days before sale of the Property
pursuant to any power of sale contained in this Security Instrument; (b) such other period as
Applicable Law might specify for the termination of Borrower’s right to reinstate; or (c)
entry of a judgment enforcing this Security Instrument. Those conditions are that Borrower:
(a) pays Lender all sums which then would be due under this Security Instrument and the
Note as if no acceleration had occurred; (b) cures any default of any other covenants or
agreements; (c) pays all expenses incurred in enforcing this Security Instrument, including,
but not limited to, reasonable attorneys’ fees, property inspection and valuation fees, and
other fees incurred for the purpose of protecting Lender’s interest in the Property and rights
under this Security Instrument: and (d) takes such action as Lender may reasonably require to
assure that Lender’s interest in the Property and rights under this Security Instrument, and
Borrower’s obligation to pay the sums secured by this Security Instrument, shall continue
unchanged. Lender may require that Borrower pay such reinstatement sums and expenses in
one or more of the following forms, as selected by Lender: (a) cash; (b} money order;
(c) certified check, bank check, treasurer’s check or cashier’s check, provided any such check
is drawn upon an institution whose deposits are insured by a federal agency, instrumentality
or entity; or (d) Electronic Funds Transfer. Upon reinstatement by Borrower, this Security
instrument and obligations secured hereby shall remain fully effective as if no acceleration
had occurred. However, this right to reinstate shall not apply in the case of acceleration
under Section 18.

20. Sale of Note; Change of Loan Servicer; Notice of Grievance. The Note ora
partial interest in the Note (together with this Security Instrument) can be sold one or more
times without prior notice to Borrower. A sale might result in a change in the entity
(known as the “Loan Servicer”) that collects Periodic Payments due under the Note and
this Security Instrument and performs other mortgage loan servicing obligations under the
Note, this Security Instrument, and Applicable Law. There also might be one or more
changes of the Loan Servicer unrelated to a sale of the Note. If there is a change of the
Loan Servicer, Borrower will be given written notice of the change which will state the

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name and address of the new Loan Servicer, the address to which payments should be made
and any other information RESPA requires in connection with a notice of transfer of
servicing. If the Note is sofd and thereafter the Loan is serviced by a Loan Servicer other
than the purchaser of the Note, the mortgage loan servicing obligations to Borrower will
remain with the Loan Servicer or be transferred to a successor Loan Servicer and are not
assumed by the Note purchaser unless otherwise provided by the Note purchaser.

Neither Borrower nor Lender may commence, join, or be joined to any judicial
action (as either an individual litigant or the member of a class) that arises from the other
party’s actions pursuant to this Security Instrument or that alleges that the other party has
breached any provision of, or any duty owed by reason of, this Security Instrument, until
such Borrower or Lender has notified the other party (with such notice given in compliance
with the requirements of Section 15) of such alleged breach and afforded the other party
hereto a reasonable period after the giving of such notice to take corrective action. If
Applicable Law provides a time period which must elapse before certain action can be
taken, that time period will be deemed to be reasonable for purposes of this paragraph. The
notice of acceleration and opportunity to cure given to Borrower pursuant to Section 22
and the notice of acceleration given to Borrower pursuant to Section 18 shall be deemed to
satisfy the notice and opportunity to take corrective action provisions of this Section 20.

21. Hazardous Substances. As used in this Section 21: (a) “Hazardous
Substances” are those substances defined as toxic or hazardous substances, pollutants, or
wastes by Environmental Law and the following substances: gasoline, kerosene, other
flammable or toxic petroleum products, toxic pesticides and herbicides, volatile solvents,
materials containing asbestos or formaldehyde, and radioactive materials: (b)
“Environmental Law” means federal laws and laws of the Jurisdiction where the Property is
located that relate to health, safety or environmental protection; (c) “Environmental!
Cleanup” includes any response action, remedial action, or removal action, aS defined in
Environmental Law; and (d) an “Environmental Condition” means a condition that can
cause, contribute to, or otherwise trigger an Environmental Cleanup.

Borrower shall not cause or permit the presence, use, disposal, storage, or release of
any Hazardous Substances, or threaten to release any Hazardous Substances, on or in the
Property. Borrower shall not do, nor allow anyone else to do, anything affecting the
Property (a}that is in violation of any Environmental Law, (b) which creates an
Environmental Condition, or (c) which, due to the presence, use, or release of a Hazardous
Substance, creates a condition that adversely affects the value of the Property. The
preceding two sentences shall not apply to the presence, use, or storage on the Property of
small quantities of Hazardous Substances that are generally recognized to be appropriate to
normal residential uses and to maintenance of the Property (including, but not limited to,
hazardous substances in consumer products).

Borrower shall promptly give Lender written notice of (a) any investigation, claim.
demand, lawsuit or other action by any governmental or regulatory agency or private party
involving the Property and any Hazardous Substance or Environmental Law of which
Borrower has actual knowledge, (b) any Environmental Condition, including but not
limited to, any spilling, leaking, discharge, release or threat of release of any Hazardous
Substance, and (c) any condition caused by the presence, use or release of a Hazardous
Substance which adversely affects the value of the Property. If Borrower learns, or is
notified by any governmental or regulatory authority, or any private party, that any

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removal or other remediation of any Hazardous Substance affecting the Property is
necessary, Borrower shall promptly take all necessary remedial actions in accordance with

Environmental Law. Nothing herein shall create any obligation on Lender for an
Environmental Cleanup.

NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree
as follows:

22. Acceleration; Remedies. Lender shall give notice to Borrower prior to
acceleration following Borrower’s breach of any covenant or agreement in this
Security Instrument (but not prior to acceleration under Section 18 unless Applicable
Law provides otherwise). The notice shall specify: (a) the default; (b) the action
required to cure the default; (c) a date, not less than 30 days from the date the netice
is given to Borrower, by which the default must be cured; and (d) that failure to cure
the default on or before the date specified in the notice may result in acceleration of
the sums secured by this Security Instrument and sale of the Property. The notice
shall farther inform Borrower of the right to reinstate after acceleration and the right
to bring a court action to assert the non-existence of a default or any other defense of
Borrower to acceleration and sale. Hf the default is not cured on or before the date
specified in the notice, Lender at its option may require immediate payment in full of
all sums secured by this Security Instrument without further demand and may invoke
the STATUTORY POWER OF SALE and any other remedies permitted by
Applicable Law. Lender shall be entitled to collect all expenses incurred in pursuing
the remedies provided in this Section 22, including, but not limited to, reasonable
attorneys’ fees and costs of title evidence.

if Lender invokes the STATUTORY POWER OF SALE, Lender shall mail a
copy of a notice of sale te Borrower as provided in Section 15. Lender shall publish
the notice of sale, and the Property shall be sold in the manner prescribed by
Applicable Law. Lender or its designee may purchase the Property at any sale. The
proceeds of the sale shall be applied in the following order: (a) to all expenses of the
sale, including, but not limited te, reasonable attorneys’ fees; (b) to all sums secured
by this Security Instrument; and (c) any excess to the persohb or persons legally
entitled to it.

23. Release. Upon payment of all sums secured by this Security Instrument, this
Security Instrument shall become null and void. Lender shall discharge this Security
Instrument. Borrower shall pay any recordation costs. Lender may charge Borrower a fee
for releasing this Security Instrument, but only if the fee is paid to a third party for services
rendered and the charging of the fee is permitted under Applicable Law.

24. No Outstanding Automatic Orders in Domestic Relations Cases, Borrower
hereby represents and warrants to Lender that either (a) there is no outstanding automatic
order under Chapter 15-5 of the Rhode Island General Laws against any Borrower relating
to a complaint for dissolution of marriage, legal separation, annulmeni, custody or
visitation or (b) there is an outstanding automatic order under Chapter 15-5 of the Rhode
Island General Laws against a Borrower relating to a complaint for dissolution of marriage,
legal separation, annulment, custody or visitation, and the other party that is subject to
such order has consented to, or the court which issued the automatic order has issued

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another order authorizing, such Borrower’s execution of the Note and this Security
Instrument.

25. Homestead Estate, 1f Borrower heretofore has acquired or hereafter acquires an
estate of homestead in the Property, Borrower hereby agrees that such homestead estate is
waived to the extent of this Security Instrument and the amount due under the Note and to the
extent of all renewals, extensions and modifications of this Security Instrument or the Note,
and that said homestead estate is subject to all of the tights of Lender under this Security
Instrument and the Note and all renewals, extensions and modifications of this Security
Instrument and the Note, and is subordinate to the lien evidenced by this Security Instrument,
and all renewals, extensions and modifications of this Security Instrument. Furthermore,
Borrower hereby waives the benefits of any homestead or similar laws or regulations that
may otherwise be applicable from time to time.

BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants
contained inthis Security Instrument and in any Rider executed by Borrower and recorded with

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WITNESS/GERALD A. MOSCA LOUIS M. LESNIAK - Borrower

 

 

(Seal)
- Borrower

 

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STATE OF RHODE ISLAND
COUNTY OF KENT

ty WARWICK ON He? 7TH DAY OF MARCH 2006
BEFORE ME PERSONALLY APPEARED LOUIS M. LESNTIAK

 

 

TO ME KNOWN AND KNOWN BY ME TO BE THE PARTY/PARTIES EXECUTING THE FOREGOING
INSTRUMENT, AND HE/SHE/THEY ACKNOWLEDGED SAID INSTRUMENT, BY HIM/HER/THEM
EXECUTED, TO BE HIS/HER/THEIR FREE ACT ahi

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NOTARY PUBLIC GERALD” AT MOSCA
MY COMMISSION EXPIRES: 6/25/09

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EXHIBIT "A"

That certain lot or parcel of land with all the buildings and ciher
improvements thereon, situated on the southerly side of Dion
Avenue, in ihe Town of Coveniry, in the Stale of Rhode Island,
laid out and designated as Lot No. 61 {sixty-one} on that plat
eniitied, “Rossevelt Hills Plat Coveniry, Rl. by Waterman
Engineering Co., April 1946", which plat is recorded in the Land
Evidence Records of the Town of Coventry in Plat Book 3 at

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For title reference, see Deed in Book 1548 Page 214 “
FOR REFERENCE PURPOSES ONLY:

7 DION AVENUE
COVENTRY RI 02816
A/PLAT 64 LOT 159

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